 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 1 of 45

Oo Oo WA th BR WwW Me

Ww Wi NM NM Me we NM NN NH BR NOR RO
oF COO MW ITH Fw YF Owe OH DH BP WH BR OS

ta ta
BB Ww

35

37
38
39

40

UNITED STATES DISTRICT COURT

IN THE WESTERN DIVISION OF MASSACHUSETTS

SPRINGFIELD, MA.

Civil Action No.

 

THOMAS FORBES, as he is the
Personal Representative of the
Estate of GEORGE J. FORBES,

PLAINTIFF

Ww

GREGORY TRUCKING COMPANY, INC;
WILEY LENUE HOOKS,

GREGORY LEASING COMPANY, INC.;
BS GLEASING, INC,;

B&C TIMBERS LLC.;

MAC COMPANY, INC, and

BB&S ACQUISITION CORP.,

DEFENDANTS

 

COMPLAINT & JURY DEMAND

STATEMENT OF THE CLAIM

ye

+o oe be se ee oe ee ee e OM eH

George Forbes was killed in a crash with a tractor trailer on 24

August 2016 in Dalton, MA.

Page 1 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 2 of 45

So

Lo

10
11
12
13

14
15

16
17
“18
19
20
21

22

JURISDICTION-VENUE

1. Jurisdiction in this matter is based upon 28 U.S.C. §1332, diversity

of citizenship. The matter in question is a tort causing personal

injury in the Commonwealth of Massachusetts. The Plaintiff, the

decedent and the decedent's estate are all of the Commonwealth of

Massachusetts; and the Defendants are residents of, and/or are duly
organized and existing under the laws of, North Carolina and
Rhode Island. The matter in controversy exceeds, exclusive of

interest and costs, the sum of seventy-five thousand dollars.

. Venue is proper in the District of Massachusetts, Western Division,

as this is the jurisdiction m which a substantial part of the events or

omissions giving rise to the claim occurred.

PARTIES

. The Plaintiff, THOMAS FORBES, is the duly appointed and

qualified Personal Representative of the Estate of GEORGE J.
FORBES (Berkshire Probate & Family Court, Docket No.
BEI6P0623EA), late of 10 Old Great Barrington Rd. W.

Stockbridge, Berkshire County, MA.

Page 2 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 3 of 45

10

11

12

13

14

15
16
17
18
19
20
21

22

. The Defendant, GREGORY TRUCKING COMPANY, INC., is a

corporation duly organized under the laws of North Carolina, with

a principal place of business at 147 Lumber Drive, Harmony, NC.

. The Defendant, WILEY LENUE HOOKS, is a natural person with
~ aplace of residence at 125 Mann Road, Harmony, NC.

. The Defendant, GREGORY LEASING. COMPANY, INC., is a

corporation duly organized under the laws of North Carolina, with

a principal place of business at 147 Lumber Drive, Harmony, NC.

. The Defendant, B S G LEASING, INC., is a corporation duly

organized under the laws of North Carolina, with a principal place

-~ of business at 179 Lumber Drive, Union Grove, NC.

. The Defendant, B & C TIMBERS, LLC., is a corporation duly

organized under the laws of North Carolina, with a principal place

of business at 147 Lumber Drive, Harmony, NC.

. The Defendant, MAC COMPANY, INC., is a corporation ‘duly

organized under the laws of North Carolina, with a principal place

of business at 179 Lumber Drive, Union Grove, NC.

10. The Defendant, BB&S ACQUISITION CORPORATION is a

corporation duly Organized under the laws of Rhode Island, with a

principle place of business in North Kingston, RI.

Page 3 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 4 of 45

10

Il

12

13

. 14

15

16

17

18

19

20

21

22

Il.

12.

13.

14.

FACTUAL ALLEGATIONS

On or about August 24, 2016, the Plaintiff's intestate, GEORGE
J, FORBES, was operating his motor vehicle Eastbound on East
Street, a public way in Dalton, Berkshire County, Massachusetts.
At the same time and.place, the Defendant, WILEY LENUE
HOOKS, was operating a commercial tractor trailer truck owned
by and registered to the Defendant, GREGORY LEASING
COMPANY, INC., southbound on Hubbard Avenue, a public
way in Dalton, Berkshire County, Massachusetts.

At said time and place, the Defendant, WILEY LENUE HOOKS,
negligently, unlawfully, and carelessly operated the Defendant,
GREGORY LEASING COMPANY, INC.’s commercial tractor
trailer truck, and thereby travelled through a red light and entered
into the intersection of said East Street and Hubbard Avenue, °
causing said commercial tractor trailer track to collide with the
Plaintiffs intestate's vehicle.

At the time the Defendant, WILEY LENUE HOOKS, was

operating said commercial tractor trailer truck, the Defendant,
WILEY LENUE HOOKS, was doing so as the employee and/or
agent of the Defendants, GREGORY LEASING COMPANY,

INC., GREGORY TRUCKING COMPANY, INC., BSG

Page 4 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 5 of 45

10

11

12

13

14

I5

16

17

18

‘f] 19

20
21

22

LEASING, INC., B&C TIMBERS LLC., MAC COMPANY,

INC., and/or BB&S ACQUISITION CORP.

15. At the time the Defendant, WILEY LENUE HOOKS, was

operating said commercial tractor trailer truck, the Defendant
WILEY LENUE HOOKS's, commercial driver's license had been

suspended.

16. As of said date of August 24, 2016, the Defendants, GREGORY

LEASING COMPANY, INC., GREGORY TRUCKING

COMPANY, INC., B S G LEASING, INC., B&C TIMBERS

‘LLC., MAC COMPANY, INC., and/or BB&S ACQUISITION

CORP. knew or should have known that the Defendant, WILEY

LENUE HOOKS' driver's license had been suspended.

17. Despite the Defendant, WILEY LENUE HOOKS’, demonstrated

inability to operate a motor vehicle in a safe manner and/or in
accordance with law, the Defendants, GREGORY LEASING

COMPANY, INC., GREGORY TRUCKING COMPANY, INC., B

5 G LEASING, INC., B&C TIMBERS LLC,, MAC COMPANY,

INC., and/or BB&S ACQUISITION CORP. entrusted, permitted,
authorized and provided the Defendant, WILEY LENUE HOOKS,
with the commercial tractor trailer truck he was operating on

August 24, 2016.

Page 5 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 6 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

18. Despite the Defendant, WILEY LENUE HOOKS’

demonstrated inability to operate a motor vehicle in a safe
manner and/or in accordance with the law, the Defendants,
GREGORY LEASING COMPANY, INC., GREGORY
TRUCKING COMPANY, INC., BSG LEASING, INC., B&C
TIMBERS LLC., MAC COMPANY, INC., and/or BB&S
ACQUISITION CORP. hired and/or retained the Defendant,
WILEY LENUE HOOKS, as their employee and/or agent as of

and through August 24, 2016.

19. As directed and proximate result of the aforesaid acts and conduct

of the Defendants, WILEY LENUE HOOKS, GREGORY
LEASING COMPANY, INC., GREGORY TRUCKING
COMPANY, INC., B S G LEASING, INC., B&C TIMBERS
LLC., MAC COMPANY, INC., and/or BB&S ACQUISITION
CORP., the commercial tractor truck operated by the Defendant,
WILEY LENU HOOKS, struck the Plaintiff’s intestate’s vehicle,

causing the Plaintiff's intestate to suffer severe injuries.

20. As a result of the injuries sustained thereof, the Plaintiff's

intestate, GEORGE J. FORBES, suffered great pain of body
and anguish of mind, incurred large expenses for medical
care and attendance, was prevented from transacting his

business, and thereafter on August 26, 2016, the plaintiff’s

Page 6 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 -Filed 12/14/17 Page 7 of 45

No

10
11
12
13
14
15
16
17
18
19
| 20
21

22

intestate, GEORGE J. FORBES, died.

21. Defendants WILEY LENUE HOOKS, GREGORY LEASING

COMPANY, INC., GREGORY TRUCKING COMPANY,
INC., B S G LEASING, INC., B&C TIMBERS LLC., MAC ©
COMPANY, INC., and/or BB&S ACQUISITION CORP. and
their employees and agents were subject to the rules and regulations
contained and set forth in Title 49, Code of Federal Regulations

(Federal Motor Carrier Safety Regulations.)

22. Defendants WILEY LENUE HOOKS, GREGORY LEASING

COMPANY, INC., GREGORY TRUCKING COMPANY,
INC., B S G LEASING, INC., B&C TIMBERS LLC., MAC
COMPANY, INC., and/or BB&S ACQUISITION CORP. were
registered with the Federal Motor Carrier Safety Administration as

interstate commercial motor carriers.

_ 23. The Motor Carrier Safety Regulations define “Motor Carrier” as a

for hire motor catrier or a private motor carrier; including a motor .
carrier’s agents, officers and representatives, as well as employees
responsible for hiring, supervising, training, assigning, or

dispatching of drivers and employees concerned with the

installation, inspection, and maintenance of motor vehicle

equipment and/or accessories, this definition includes the term

“employer.” 49 CFR §390.5

Page 7 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 8 of 45

10
11
12
13
14
15
16
17

18
19
20
21

‘22

24, The Motor Carrier Safety Regulations define an “Employee” as
any individual, other than an employer, who is employed by an
employer and who, in the course of his or her employment directly,
affects commercial motor vehicle safety. “Employee” includes a
driver of a commercial motor vehicle (including an independent
contractor while in the course of operating a commercial motor
vehicle), a mechanic and a freight handler. 49 CFR §390.5

25. At all relevant time, Defendant Wiley Lenue Hooks was a driver
of a commercial tractor trailer and therefore, an “employee,” as
defined by the Motor Carrier Safety Regulations. —

26. The Motor Cartier Safety Regulations define “Motor Vehicle” as
any vehicle, machine, tractor, trailer or semi-trailer propelled or
drawn by mechanical power and used upon the highways in the
transportation of passengers or property, or any combination
thereof determined by the Federal Motor Carrier Safety
Administration. 49 CFR §390.5

27. At all relevant times the tractor trailer.driven by Wiley Lenue
Hooks was a “Motor Vehicle” as defined by the Motor Carrier
Safety Regulations.

28. The Motor Carrier Safety Regulations define “Employer” as any
person engaged in a business affecting interstate commerce that

owns or leases a commercial motor vehicle in connection with that

Page 8 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 9 of 45

1 business, or assigns employees to operate it. 49 CFR §390.5

2 29. “For Hire Motor Carrier’ means a person engaged in the
3 transportation of goods or passengers for compensation. 49 CFR
4 §390.5

5 30. “Private Motor Carrier’ means a person who provides

6 transportation of ‘property or passengers, by commercial motor
7 _-vehicle and is not a ‘for hire motor carrier.. .” “Person” means any
8 individual, partnership, association, corporation, business trust or
9 any other organized group of individuals. 49 CFR §390.5

10 31. Gregory Trucking Co., Inc., Gregory Leasing Co., Inc., and

11 MAC Company, Inc., have the same president, agent for service
12 and the same corporate address according to the NC. Secretary of
13 State’s office.

14 32. BSG Leasing, Inc., and B&C Timbers, LLC., have the same

 

15 president, managing member, agent for service, and the same — |
16 corporate address according to the NC. Secretary of State’s office.

17 | |

18 |

19 | COUNT I |

20 M.G.L. c. 229 §6 — Conscious Pain & Suffering

21

22 33. The Plaintiff realleges Paragraphs 1-32 of this Complaint

23 and incorporates them by reference into this Count I.

Page 9 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17. Page 10 of 45

bo

10

il

12

13

14

15

16

17

18

19 .

20

21

22

34. At the time ‘of the crash, Defendant Wiley Lenue Hooks |
owed a duty to the Plaintiff to operate the tractor trailer with
ordinary care.

35. At the time of the crash, Defendant Wiley Lenue Hooks
breached said duty and negligently operated the tractor trailer
and as a direct and proximate result of the negligent acts and
conduct of the Defendant, WILEY LENUE HOOKS, as set
forth herein, the Plaintiff's instate, GEORGE J. FORBES,
suffered great pain of body and anguish of mind, incurred
large expenses for medical care and attendance, was
prevented from transacting his business, and thereafter on
August 26, 2016, the Plaintiff’s intestates GEORGE J.
FORBES, died. |

36. This Count is brought by the Personal Representative
against the Defendant, WILEY LENUE HOOKS, for
conscious pain and suffering sustained by GEORGE J.
FORBES, and is brought for the benefit of the Estate of
GEORGE J. FORBES.

WHEREFORE, the Plaintiff demands judgment against the
Defendant, WILEY LENUE HOOKS, for damages, interest, and
costs, and for such other and further relief the Court deems

equitable and just.

Page 10 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 11 of 45

10

11

12

13

14

15

16

lz

18

19

20

21

22

COUNT II
MGL c. 229, §2 — Wrongful Death

37. The Plaintiff realleges Paragraphs 1-36 of this Complaint,

and incorporates them by reference into this Count IT.

38. At the time of the crash, Defendant Wiley Lenue Hooks

owed a duty to the Plaintiff to operate the tractor trailer with

ordinary care.

39. At the time of the crash, Defendant Wiley Lenue Hooks

breached said duty and negligently operated the tractor trailer
and as a direct and proximate result of the negligent acts and
conduct of the Defendant, WILEY LENUE HOOKS, as set
forth herein, the Plaintiff's instate, GEORGE J. FORBES,
suffered great pain of body and anguish of mind, incurred
large expenses for medical care and attendance, was
prevented from transacting his business, and thereafter on
August 26, 2016, the Plaintiff’s intestate, GEORGE J.

FORBES, died.

40. This Count is brought by the Personal Representative

against the Defendant, WILEY LENUE HOOKS, for the
death of GEORGE J. FORBES and for the use of the next of

kin of the said GEORGE J. FORBES.

Page 11 of 45

 
 

10
11

12

14

i6

18
19
20
21

22

 

15

17.

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 12 of 45

WHEREFORE, the Plaintiff demands judgment against the
Defendant, WILEY LENUE HOOKS, for punitive damages,
damages, interest, and costs, and for such other and further relief

the Court deems equitable and just.

COUNT Ul
MGL c. 229, §2 — Gross Negligence - Punitive Damages

41. The Plaintiff realleges Paragraphs 1- 40 of his Complaint,
and incorporates them by reference into this Count ITI.

42. At the time of the crash, Defendant WILEY LENUE
HOOKS owed a duty to the Plaintiff to operate the tractor
trailer with ordinary care.

43. At the time of the crash, Defendant WILEY LENUE
HOOKS breached said duty and negligently and/or with
gross negligence operated the tractor trailer and as a direct
and proximate result of the negligent acts and conduct of the
Defendant, WILEY LENUE HOOKS, as set forth herein, the
Plaintiff's instate, GEORGE J. FORBES, suffered great pain |
of body and anguish of mind, incurred large expenses for

medical care and attendance, was prevented from transacting

Page 12 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 13 of 45

10

il.

12
13
14
15
16
17
18
19
20
2]

22

23

24

his business, and thereafter on August 26, 2016, the
Plaintiff’s intestate, GEORGE J. FORBES, died.

44. The Plaintiff’s intestate, GEORGE J. FORBES’, death
was caused by the malicious, willful, wanton or reckless
conduct of the Defendant, WILEY LENUE HOOKS, and/or
by the gross negligence of the Defendant, WILEY LENUE
. HOOKS, all as set forth herein.

45. This Count is brought by the Personal Representative for
punitive damages against the Defendant, WILEY LENUE
HOOKS, for the death of GEORGE J. FORBES.

WHEREFORE, the Plaintiff demands judgement against the

Defendant, WILEY LENUE HOOKS, for damages, punitive

damages, interest, and costs, and for such other and further

relief the Court deems equitable and just.

COUNT IV
M.G.L. c. 229, §2, §6
Gross Negligence - Negligent Entrustment —
Punitive Damages- Conscious Pain and Suffering

46. The Plaintiff realleges Paragraphs 1-45 of his Complaint, and

incorporates them by reference into this Count IV.

Page 13 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 14 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

47. The Defendants, GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B S$ G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. negligently entrusted, was grossly
negligent, permitted, authorized and/or provided the Defendant,
WILEY LENUE HOOKS, with the commercial tractor trailer
truck he was operating on August 24, 2016 in the
transportation of commerce.

The Plaintiff’s intestate, GEORGE J. FORBES’, death
was caused by the gross negligence, malicious, willful,

wanton or reckless conduct of the Defendants GREGORY

- LEASING COMPANY, INC., GREGORY TRUCKING

COMPANY, INC., B $8 G LEASING, INC., B&C TIMBERS
LLC., MAC COMPANY, INC., and/or BB&S ACQUISITION

CORP. asset forth herein.

49. As a result of the negligent acts and/or gross negligence and

conduct of the Defendants, GREGORY LEASING COMPANY,
INC., GREGORY TRUCKING COMPANY, INC., B 8 G
LEASING, INC., B&C TIMBERS LLC., MAC COMPANY,
INC., and/or BB&S ACQUISITION CORP. as set forth herein, the
Plaintiff’s intestate, GEORGE J. FORBES, suffered great pain

of body and anguish of mind, incurred large expenses for

Page 14 of 45

 
 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 15 of 45

1 medical care and attendance, was prevented from transacting his
2 business, and thereafter on August 26, 2016, the Plaintiff’s

intestate, GEORGE J. FORBES, died.

fa

4 50. This Count is brought by the Personal Representative against

5 the Defendants, GREGORY LEASING COMPANY, INC.,
6 GREGORY TRUCKING COMPANY, INC., B S G LEASING,
7 | INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
8 BB&S ACQUISITION CORP. for conscious pain and suffering
9 sustained by GEORGE J. FORBES, and is brought for the
10 benefit of the Estate of GEORGE J. FORBES.

11 WHEREFORE, the Plaintiff demands judgment against the
12 Defendants, GREGORY LEASING COMPANY, INC., GREGORY
13 TRUCKING COMPANY, INC., B 8 G LEASING, INC. B&C
14 TIMBERS LLC., MAC. COMPANY, INC., and/or BB&S
15 ACQUISITION CORP. for damages, punitive damages, interest, and

16 costs, and for such other and further relief the Court deems equitable

 

17 and just.

18 COUNT V

19 M.G.L. c. 229, §2 Wrongful Death
20. Negligent Entrustment

DE

22 S1. The Plaintiff realleges Paragraphs 1-50 of his Complaint, and

23 - Incorporates them by reference into this Count V.

Page 15 of 45

 

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 16 of 45

10
11
12
13
14
15
16
17
18

19

4| 20

21

22

52. The Defendants, GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B § G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. negligently entrusted, permitted,
authorized and/or provided the Defendant, WILEY LENUE
HOOKS, with the commercial tractor trailer truck he was

operating on August 24, 2016 in the transportation of commerce.

53. Asa result of the negligent acts and conduct of the Defendants,

GREGORY LEASING COMPANY, INC., GREGORY
TRUCKING COMPANY, INC., B S G LEASING, INC., B&C

TIMBERS LLC., — MAC COMPANY, INC., and/or BB&S
ACQUISITION CORP. as set forth herein, the Plaintiff's
intestate, GEORGE J. FORBES, suffered great pain of body and
anguish of mind, incurred large expenses for medical care and
attendance, was prevented from transacting his business, and
thereafter on August 26, 2016, the Plaintiff’s intestate,

GEORGE J. FORBES, died.

54. This count is brought by the Personal Representative against

the Defendants, GREGORY LEASING COMPANY, INC.,,
GREGORY TRUCKING COMPANY, INC., BS G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or

BB&S ACQUISITION CORP. for the death of GEORGE J.

Page 16 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 17 of 45

i)

aan

10
11
12
13

14

i)

16

1?

18

“yf 19

29

21

22

FORBES and for the use of the next of kin of the said GEORGE
J. FORBES.
WHEREFORE, the Plaintiff demands judgment against the
Defendants, GREGORY LEASING COMPANY, INC., GREGORY
TRUCKING COMPANY, INC., B 8 G LEASING, INC., B&C
TIMBERS LLC., MAC COMPANY, INC., and/or BB&S
ACQUISITION CORP. for damages, interest, and costs, and for such

other and further relief the Court deems equitable and just.

COUNT VI
M.G.L. c. 229, §6 Conscious Pain & Suffering
Negligent Employment, Hiring,
Training, Supervision, & Retention

55. The Plaintiff realleges Paragraphs 1-44 ofhis complaint,
andincorporates them by reference into this Count VI.

56. The Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. had a duty to have safety rules,
regulations, policies and procedures in place to hire safe truck
drivers, and/or trucking companies to prevent injuries and protect

the public.

Page 17 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 18 of 45

10
11
12
13
14
15
16
17
18
19
20
21

22

57. The Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., BS G LEASING,
-INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&$& ACQUISITION CORP. had a duty, imposed by law and
regulation, to diligently and adequately screen, potential drivers
and/or “employees,” to adequately train, to adequately supervise,
and adequately retain them to the extent mandated by the Federal
Motor Carrier Safety Regulations. Such duties include, but are not
limited to:

A. To obtain a complete employment application. before
permitting an agent, servant, and/or employee” to drive a
commercial vehicle. 49 CFR §391.21;

B.To investigate the agents, servants, and/or “employee’s”
drivers employment record during the preceding three (3)
years by all reasonable means. 49 CFR §391.23(a)(2),
391.23(c);

C.To inquire into the agent’s, servant’s, and/or “employee’s”
driving record within thirty (30) days after employment
begins. 49 CFR §391.23(a);

D.To require a successfully completed road test before
commencing employment, and permitting the applicant, agent,
servant, and/or ‘employee” to drive a commercial motor

Page 18 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 19 of 45

10

1]

12

13

14

15
16
7
18
19
20
2]

22

vehicle. 49 CFR §391.31{a);

. To investigate the driver’s safety performance history with the

Department of Transportation regulated employer during the

preceding three (3) years. 49 CFR §391,23(2);

. Ensure that its driver was physically qualified to operate a

tractor trailer and had a valid and current DOT medical

examiner’s certificate. 49 CFR §391.41:

.Ensure that its driver was properly licensed to

operate a tractor trailer;

.To require and verify its drivers pass a knowledge

and skills test as prescribed by Federal Motor
Carrier Safety Regulations. 49 CFR §380.109 and 49

CFR §380.509;

. To train its drivers on the Federal Motor Carrier Safety

Regulations pertaining to medical certification, medical
examination procedures, general qualifications, responsibilities

and disqualifications. 49 CFR §380.503;

. To ensure that its drivers have been properly trained and show

proof of that training with a training certificate. 49 CFR

§391.41; 49 CFR §380.505;

Page 19 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 20 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

K.To ensure that its drivers were continuously physically
~ qualified to safely operate a tractor trailer. 49 CFR §391.41, 49
CFR §391.43;
L. To maintain a driver qualification file for each
driver employed. 49 CFR $391.51;
M. To maintain a driver investigation history file
for each driver it employs. 49 CFR §391.53;
N.To not allow or permit its on duty drivers to be in
possession of drugs as listed in 49 CFR §392.4(a);
O.To not schedule a run, nor permit, nor require the
operation of any commercial vehicle between
points in such a period of time as would necessitate
the commercial vehicle being operated at seeds
greater than those prescribed by law. 49 CFR $392.6;
P. To require observance by its drivers of any duty or
prohibition imposed upon the drivers by the federal
Motor Carrier Safety Regulations. 49 CFR §390.11; |
Q.To not require or permit a driver, including
Defendant WILEY LENUE HOOKS, to operate a-
commercial motor vehicle, while the driver’s
ability or alertness is so impaired, or so likely to

become impaired, through fatigue, illness, or any

Page 20 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 21 of 45

10

11

12

13

14

15

16

17

18
19
20
241

22

other cause, as to make it unsafe for him/her to
begin or continue to operate the commercial motor

vehicle. 49 CFR §392.3;

.To not permit allow a driver, including Defendant

WILEY LENUE HOOKS, to operate a commercial
motor vehicle unless that person is qualified to

drive a commercial motor vehicle. 49 CFR §391.11;

. To not aid, abet, encourage or require any of its

employees to violate the safety regulations

contained within chapter 390. 49 CFR §390.13;

.To prohibit its employees from driving a

commercial motor vehicle unless the employee had
first completed and furnished defendants with an
application for employment that meets the

requirements as set forth in 49 CFR §391.21(b);

. To make investigation and inquiry with respect to each driver

it employs and to do so in the manner prescribed in 49 CFR

§391.23:

.To obtain the motor vehicle record of every driver

it employed, including the Defendant WILEY
LENUE HOOKS, at least once every twelve (12)

months in order to determine whether that driver

Page 21 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 22 of 45

ua

10

11

12

13

14

15

16

17

18

19

20

21

22

continues to meet the minimum requirements for
safe driving or is disqualified to drive a
commercial motor vehicle. 49 CFR §391.25;

To require each of its drivers, including the
Defendant WILEY LENUE HOOKS, to furnish it
with a list of all violations of motor vehicle traffic
laws and ordinances of which he/she has been
convicted in the preceding twelve (12) months. 49

CFR §391.27;

.To prohibit its employees, including the Defendant

WILEY LENUE HOOKS, from driving until the
driver has successfully completed a road test and

been issued a certificate of driver’s road test. 49

CFR §391.31; and

.To ensure that its drivers, including the Defendant

WILEY LENUE HOOKS, were physically qualified
to operate a commercial motor vehicle and that its

drivers had undergone the necessary examinations

in the required time frames as set forth within the

Federal Motor Carrier Safety Regulations. 49 CFR

§391 — subpart E.

Page 22 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 23 of 45

10

1i

12

13

14

15

16

17

18

19

20

21

22

3% The Defendants, GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. negligently hired, employed,
trained, supervised and/or retained the Defendant, WILEY

LENUE HOOKS, as of and through August 24, 2016.

S. Defendant’s - GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. — actions and omissions in hiring,
employing, training, supervising and retaining the Defendant
Wiley Lenue Hooks — including their violations of the Federal
Motor Carrier Safety Regulations — were willful, wanton, and
reckless, and demonstrated a complete indifference and conscious

disregard for the law and for the safety of others.

©. Defendants - GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP.- willful, wanton and reckless
behavior evidenced a complete indifference and conscious
disregard for the safety of the motoring public and punitive

damages are appropriate in this action in order to punish the

Page 23 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 24 of 45

10
11
12
13
14
15
16
17
18
19
20
21

22

defendants and deter others from similar conduct.

61. As a result of the negligent acts and conduct of the

Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. as set forth herein, the Plaintiff’s
intestate; GEORGE J. FORBES, suffered great pain of body and
anguish of mind, incurred large expenses for medical care and
attendance, was prevented from transacting his business, and
thereafter on August 26, 2016, the Plaintiff’s intestate,

GEORGE J. FORBES, died.

62. This Count is brought by the Personal Representative against

the Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. for conscious pain and suffering
sustained by GEORGE J. FORBES, and is brought for the

benefit of the Estate of GEORGE J. FORBES.

WHEREFORE, the Plaintiff demands judgment against the
’ Defendants, GREGORY LEASING COMPANY, INC., GREGORY

TRUCKING COMPANY, INC., B S G LEASING, INC., B&C

Page 24 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 25 of 45

oO fo 1 NN

id

il

12

13

14

15

16

17

18

19

20,

21

22

23

24

TIMBERS LLC., MAC COMPANY, INC., and/or BB&S
ACQUISITION CORP. for punitive damages, damages, interest, and

costs, and for such other and further relief the Court deems equitable

and just.

COUNT VII
M.G.L. c. 229, § 2 Wrongful Death
Negligent Employment, Hiring, Traiming,
Supervision & Retention
63. The Plaintiff realleges Paragraphs 1-62 of his Complaint, and
incorporates them by reference into this Count VIL
64, The Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B 8 G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. had a duty to have safety rules,
regulations, policies and procedures in place to hire safe truck
drivers, and/or trucking companies to prevent injuries and protect
the public.
65. The Defendants GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., BS G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or

BB&S ACQUISITION CORP. had a duty, imposed by law and

~ regulation, to diligently and adequately screen potential drivers

Page 25 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 26 of 45

10

il

12

13

14

15

16

17

18

19

20

21

22

and/or “employees,” to adequately train, to adequately supervise,
and to adequately retain them to the extent mandated by the
Federal Motor Carrier Safety Regulations.

66. Such duties include, but are not limited to:

A. To obtain a complete employment application before

permitting an agent, servant, and/or employee” to drive a

commercial vehicle. 49 CFR §391.21;

. To investigate the agents, servants, and/or “employee’s”

drivers employment record during the preceding three (3)
years by all reasonable means. 49 CFR §391.23(a)(2),

391.23(c);

. To inquire into the agent’s, servant’s, and/or “employee’s”

driving record within thirty (30) days after employment

begins. 49 CFR §391.23(a);

.To require a successfully completed road test before

commencing employment, and permitting the applicant, agent,
servant, and/or ‘employee” to drive a commercial motor

vehicle. 49 CFR §391.31 (a);

. To investigate the driver’s safety performance history with the

Department of Transportation regulated employer during the

preceding three (3) years. 49 CFR §391.23(2);

Page 26 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 27 of 45

19

11

12

13

14

15

16

17

18

19°

20

21

22

. Ensure that its driver was physically qualified to operate a

tractor trailer and had a valid and current DOT medical

examiner’s certificate. 49 CFR §391.41;

.Ensure that its driver was properly licensed to

operate a tractor trailer;

.To require and verify its drivers ass a knowledge

and skills test as prescribed by Federal Motor
Carrier Safety Regulations. 49 CFR §380.109 and 49

CFR §380.509;

_ To train its drivers on the Federal Motor Carrier Safety

Regulations. pertaining to medical certification, medical
examination procedures, general qualifications, responsibilities

and disqualifications. 49 CFR §380.503;

. To ensure that its drivers have been properly trained and show

proof of that training with a training certificate. 49 CFR

$391.41; 49 CFR §380.505;

.To ensure that its drivers were continuously physically

qualified to safely operate a tractor trailer. 49 CFR §391.41, 49

CFR §391.43;

-To maintain a driver qualification file for each

driver employed. 49 CFR §391.51;

Page 27 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 28 of 45

10
1k
12
13
14
15
16
17
18
19
20
21

22

To maintain a driver investigation history file

for each driver it employs. 49 CFR §391.53;

.To not allow or permit its on duty drivers to be in

possession of drugs as listed in 49 CFR §392.4(a);

.To not schedule a run, nor permit, nor require the

operation of any commercial vehicle between

points in such a period of time as would necessitate

the commercial vehicle being operated at seeds

greater than those prescribed by law. 49 CFR §392.6;

. To require observance by its drivers of any duty or

prohibition imposed upon the drivers by the federal

Motor Carrier Safety Regulations. 49 CFR §390.11;

.To not require or permit a driver, including

Defendant WILEY LENUE HOOKS, to operate a
commercial motor vehicle, while the driver’s
ability or alertness is so impaired, or so likely to
become impaired, through fatigue, illness, or any
other cause, as to make it unsafe for him/her to

begin or continue to operate the commercial motor

vehicle. 49 CFR §392.3;

.To not permit allow a driver, including Defendant

WILEY LENUE HOOKS, to operate a commercial

Page 28 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 29 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

motor vehicle unless that person is qualified to

drive a commercial motor vehicle. 49 CFR §391.11;

. To not aid, abet, encourage or require any of its

employees to violate the safety regulations

contained within chapter 390. 49 CFR §390.13;

.To prohibit its employees from driving a

commercial motor vehicle unless the employee had
first completed and furnished defendants with an
application for employment that meets the

requirements as set forth in 49 CFR §391.21(b);

. To make investigation and inquiry with respect to each driver

it employs and to do so in the manner prescribed in 49 CFR

§391.23;

.To obtain the motor vehicle record of every driver

it employed, including the Defendant WILEY
LENUE HOOKS, at least once every twelve (12)
months in order to determine whether that driver
continues to meet the minimum requirements for
safe driving or is disqualified to drive a

commercial motor vehicle. 49 CFR §391.25;

Page 29 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 30 of 45

10
11
12
13
14

15
16
17
18
19
20
21

22

Ww.

To require each of its drivers, including the
Defendant WILEY LENUE HOOKS, to furnish it
with a list of all violations of motor vehicle traffic
laws and ordinances of which he/she has been
convicted in the preceding twelve (12) months. 49

CFR §391.27;

.To prohibit its employees, including the Defendant

WILEY LENUE HOOKS, from driving until the
driver has successfully completed a road test and
been issued a certificate of driver’s road test. 49

CFR §391.31; and

.To ensure that its drivers, including the Defendant

WILEY LENUE HOOKS, were physically qualified
to operate a commercial motor vehicle and that its
drivers had undergone the necessary examinations
in the required time frames as set forth within the
Federal Motor Carrier Safety Regulations. 49 CFR

§391 — subpart E.

67. The Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B 8 G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or

BB&S ACQUISITION CORP. negligently hired, employed,

Page 30 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 31 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

trained, supervised, and/or retained the Defendant, WILEY
LENUE HOOKS, as of and through August 24, 2016.

68. This Count is brought by the Personal Representative against
the Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. for the death of GEORGE J.
FORBES and for the use of the next of kin of the said GEORGE
J. FORBES.

WHEREFORE, the Plaintiff demands judgment against the
Defendants, GREGORY LEASING COMPANY, INC., GREGORY
TRUCKING COMPANY, INC., B 8 G LEASING, INC., B&C
TIMBERS LLC., MAC COMPANY, INC., and/or BB&S
ACQUISITION CORP. for damages, interest, and costs, and for such

other and further relief the Court deems equitable and just.

COUNT VOI
M.G.L. c. 229, § 2 Gross Negligence
Punitive Damages for Negligent
Employment, Hiring, Training, Supervision,
& Retention

69. The Plaintiff realleges Paragraphs 1-68 of his Complaint, and

incorporates them by reference into this Count VIL

Page 31 of 45 |

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 32 of 45

~~]

4] 10

11

12

13

14

1)

16

17

18

19

20

2]

22

70. The Defendants, GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. had a duty to have safety rules,
regulations, policies and procedures in place to hire safe truck
drivers, and/or trucking companies to prevent injuries and protect

the public.

71. The Defendants GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B 8 G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. had a duty, imposed by law and
regulation, to diligently and adequately screen potential drivers
and/or “employees,” to adequately train and to adequately

supervise them to the extent mandated by the Federal Motor Carrier

_ Safety Regulations.
72. Such duties include, but are not limited to:

A. To obtain a complete employment application before permitting

an agent, servant, and/or employee” to drive a commercial

vehicle. 49 CFR §391.21;

' B. To investigate the agents, servants, and/or “employee’s” drivers

employment record during the preceding three (3) years by all

reasonable means. 49 CFR §391.23(a)(2), 391.23 (c);

Page 32 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 33 of 45

ua

10

11

12

13

14

15

16

17

18

19

20

24

22

C. To inquire into the agent’s, servant’s, and/or “employee’s”

driving record within thirty (30) days after employment begins.

49 CFR §391.23(a);

. To require a successfully completed road test before commencing

employment, and permitting the applicant, agent, servant, and/or
‘employee” to drive a commercial motor vehicle. 49 CFR

§391.31(a);

. To investigate the driver’s safety performance history with the

Department of Transportation regulated employer during the

preceding three (3) years. 49 CFR §391.23(2);

. Ensure that its driver was physically qualified to operate a tractor

trailer and had a valid and current DOT medical examiner’s

certificate. 49 CFR §391.41;

. Ensure that its driver was properly licensed to operate

a tractor trailer;

.To require and verify its drivers ass a knowledge and

skills test as prescribed by Federal Motor Carrier

Safety Regulations. 49 CFR §380.109 and 49 CFR §380.509;

. To train its drivers on the Federal Motor Carrier Safety

Regulations pertaining to medical certification, medical
examination procedures, general qualifications, responsibilities

and disqualifications. 49 CFR §380.503;

Page 33 of 45

 
 

 

Case 3:17-cv-30174-MGM -Document1 Filed 12/14/17 Page 34 of 45

a

10
It

12

14
15
16
17
18
19
20
21

22

. To ensure that its drivers have been properly trained and show

prof of that trainng with a training certificate. 49 CFR §391.41; 49

CFR §380.505;

. To ensure that its drivers were continuously physically qualified

to safely operate a tractor trailer. 49 CFR §391.41, 49 CFR

$391.43;

. To maintain a driver qualification file for each driver

employed. 49 CFR §391.51;
To maintain a driver investigation history file

for each driver it employs. 49 CFR §391.53;

.To not allow or permit its on duty drivers to be in

possession of drugs as listed in 49 CFR §392.4(a);

.To not schedule a run, nor permit, nor require the

operation of any commercial vehicle between points
in such a period of time as would necessitate the
commercial vehicle being operated at seeds greater

than those prescribed by law. 49 CFR §392.6;

. To require observance by its drivers of any duty or

prohibition imposed upon the drivers by the federal

Motor Carrier Safety Regulations. 49 CFR §390.11;

.To not require or permit a driver, including Defendant

WILEY LENUE HOOKS, to operate a commercial

Page 34 of 45

 
 

 

Case 3:17-cv-30174-MGM Document 1 Filed 12/14/17 Page 35 of 45

10
11
12
13
14
15
16
17
18
19
20
21

22

motor vehicle, while the driver’s ability or alertness
is so impaired, or so likely to become impaired,
through fatigue, illness, or any other cause, as to
make it unsafe for him/her to begin or continue to

operate the commercial motor vehicle. 49 CFR §392.3;

.To not permit allow a driver, including Defendant

WILEY LENUE HOOKS, to operate a commercial
motor vehicle unless that person is qualified to drive

a commercial motor vehicle. 49 CFR §391.11;

.To not aid, abet, encourage or require any of its

employees to violate the safety regulations contained

within chapter 390. 49 CFR §390.13;

. To prohibit its employees from driving a commercial

motor vehicle unless the employee had first completed
and furnished defendants with an application for
employment that meets the requirements as set forth

in 49 CFR §391.21(b);

. To make investigation and inquiry with respect to each driver it

employs and to do so in the manner prescribed in 49 CFR

§391.23;

.To obtain the motor vehicle record of every driver it

employed, including the Defendant WILEY LENUE

Page 35 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 36 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22.

HOOKS, at least once every twelve (12) months in
order to determine whether that driver continues to
meet the minimum requirements for safe driving or is
disqualified to drive a commercial motor vehicle. 49
CFR $391.25; |

To require each of its drivers, including the
Defendant WILEY LENUE HOOKS, to furnish it with
a list of all violations of motor vehicle traffic laws
and ordinances of which he/she has been convicted in

the preceding twelve (12) months. 49 CFR §391.27;

.To prohibit its employees, including the Defendant

WILEY LENUE HOOKS, from driving until the

driver has successfully completed a road test and been
issued a certificate of driver’s road test. 49 CFR

$391.31; and

.To ensure that its drivers, including the Defendant

WILEY LENUE HOOKS, were physically qualified to
operate a commercial motor vehicle and that its
drivers had undergone the necessary examinations in
the required time frames as set forth within the
Federal Motor Carrier Safety Regulations. 49 CFR §391

— subpart E.

Page 36 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 37 of 45

10

11

12

13

14,

15

16

17

18

19

20

21

73. The Defendants, GREGORY LEASING COMPANY, INC.,

GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or
BB&S ACQUISITION CORP. was negligent and/or grossly
negligent in hiring, employing, training, supervising and/or
retaining the Defendant, WILEY LENUE HOOKS, as of and

through August 24, 2016.

74. The Plaintiff’s intestate, GEORGE J. FORBES”s, death was

caused by the malicious, willful, wanton or reckless conduct of
the Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B S G LEASING,

INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or

BB&S ACQUISITION CORP. and/or by the gross negligence of

the Defendants, GREGORY LEASING COMPANY, INC.,
GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., MAC COMPANY, INC., and/or

BB&S ACQUISITION CORP. all as set forth herein.

75. This count is brought by the Personal Representative for

punitive damages against the Defendants, GREGORY LEASING
COMPANY, INC., GREGORY TRUCKING COMPANY,

INC., B S G LEASING, INC., B&C TIMBERS LLC., MAC

Page 37 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 38 of 45

1 COMPANY, INC., and/or BB&S ACQUISITION CORP. for the

2 death of GEORGE J. FORBES.

4 WHEREFORE, the Plaintiff demands judgment against the
5 Defendants, GREGORY LEASING COMPANY, INC., GREGORY
6 TRUCKING COMPANY, INC., B S G LEASING, INC., B&C
7 TIMBERS LLC., MAC COMPANY, INC., and/or BB&S
gs ACQUISITION CORP. for punitive damages, damages, interest, and

9 costs, and for such other and further relief the Court deems equitable

 

10 and just.

11

12

13 COUNT IX

14 Single Enterprise, Joint Venture,
15 Joint Enterprise

16
17 76. The Plaintiff realleges Paragraphs 1-75 of his Complaint, and
18 incorporates them by reference into this Count IX.

19 77. The Defendants, GREGORY LEASING COMPANY, INC.,

20 GREGORY TRUCKING COMPANY, INC., B 8 G LEASING,
21 INC., B&C TIMBERS LLC., MAC COMPANY, INC., were
22 acting as joint venturers, enterprisers and are indistinguishable
23 entities, operate and act as a single entity or enterprise, have unity

Page 38 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 39 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

of interests, act together in relationship, and should be charged with
each other’s liabilities.

78. The defendants, GREGORY LEASING COMPANY, INC.
GREGORY TRUCKING COMPANY, INC., B S G LEASING,
INC., B&C TIMBERS LLC., and MAC COMPANY, INC., sought
to transport goods in interstate commerce and in doing so, were
negligent and/or grossly negligent.

79. The defendants, GREGORY LEASING COMPANY, INC.
GREGORY TRUCKING COMPANY, INC., B $8 G LEASING,
INC., B&C TIMBERS LLC., and MAC COMPANY, INC., are:

a. Corporations with identity or substantial identity of
ownership;

b. Corporations with common directors and/or officers;

c. Corporations with unified administrative control whose
business functions are similar or supplementary;

d. Corporations with directors and/or officers not acting
independently and in the interest of that corporation;

e. Corporations financing one another;

f. Corporations using the same telephone numbers, addresses,
and mailing facilities;

g, Corporations that integrated and/or intermingled their
resources;

Page 39 of 45

 
 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 40 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

 

m.

Corporations with inadequate capitalization;

Corporations with inadequate liability insurance;
Corporations causing the incorporation of another affiliated
corporation;

Corporations paying the salaries and other expenses or
losses of each other;

Corporations receiving no business other than that given

to it by its affiliated corporations;

Corporations using the property of one another as its own;
Corporations not in compliance with corporate formalities;
Corporations intermingling common employees and
resources;

Corporations utilizing the services of each other’s
employees on behalf of each other;

Corporations with a common office and/or facilities;
Corporations with centralized accounting;

Corporations with | undocumented transfers of funds
between them;

Corporations with unclear allocation of profits and losses
between them;

Corporations with excessive fragmentation of a single

enterprise into separate corporations;

Page 40 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 41 of 45

lad

10

1k

12

13

14

15

16

17

18

19

20

21

22

. Corporations whose personalities have merged so that one

corporation is a mere adjunct of another;

. Corporations commingling funds between them and

personally;

. Corporations not conducting regular meetings of

shareholders and directors;

. Corporations with active and direct participation by their

representatives exercising some form of pervasive control
in the activities of each other causing fraudulent or

injurious consequences;

. Corporations intermingling activities with a substantial

disregard of the separate nature of the corporate entities or
serious ambiguity about the mamner and capacity in which
the various corporations and their representatives are

acting;

aa. Corporations that are not distributing dividends;

bb. Corporations siphoning corporate funds by the dominant

shareholders;

cc.Corporations with non-functioning officers and/or

directors, other than the shareholders; and

dd. Corporations without adequate corporate records.

Page 41 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 42 of 45

em

10
11
12
13
14
15
16
17
18
19
20
a

22

80. The Plaintiff’s intestate, GEORGE J. FORBES”s, death was

caused by the negligent, malicious, willful, wanton or reckless
conduct of the Defendants, GREGORY LEASING COMPANY,
INC., GREGORY TRUCKING COMPANY, INC., B S G
LEASING, INC., B&C TIMBERS LLC., and/or MAC
COMPANY, INC., and/or by the gross negligence of the
Defendants, GREGORY LEASING COMPANY, _INC.,
GREGORY TRUCKING COMPANY, INC., B 8 G LEASING,
INC., B&C TIMBERS LLC., and/or MAC COMPANY, INC., all

as set forth herein.

81. This count is brought by the Personal Representative for damages

and/or punitive damages against the Defendants, GREGORY
LEASING COMPANY, INC., GREGORY TRUCKING
COMPANY, INC., B $8 G LEASING, INC., B&C TIMBERS
LLC., and/or MAC COMPANY, INC., for the death of GEORGE
J. FORBES.

It would be an inequitable result if GREGORY LEASING
COMPANY, INC., GREGORY TRUCKING COMPANY,
INC., B SG LEASING, INC., B&C TIMBERS LLC., and MAC
COMPANY, INC., were not held liable for each other’s dubious
manipulation and contrivance such that corporate identities are

confused and third parties cannot be quite certain with what

Page 42 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 43 of 45

10

11

12

13

14

15

16

17

18

19

20

21

22

23

corporation they are dealing.
WHEREFORE, the Plaintiff demands judgment against the
Defendants, GREGORY LEASING COMPANY, INC., GREQORY
TRUCKING COMPANY, INC., B S G LEASING, INC., B&C
TIMBERS LLC., and/or MAC COMPANY, INC., for punitive
damages, damages, interest, and costs, and for such other and further

relief the Court deems equitable and just.

COUNT X
Lease Liability

83. The Plaintiff realleges Paragraphs 1-82 of his Complaint, and
incorporates them by reference into this Count X.

84. At all times, Defendant BB&S ACQUISITION CORP., was
operating as an “employer” or leasor of an “employee” operating a

- “motor vehicle” upon the roads and highways for a commercial
purpose of BB&S ACQUISITION CORP.

85. At all times, the Defendant, WILEY LENUE HOOKS, was an
“employee” of BB&S ACQUISITION CORP as that term is
defined by the Federal Motor Carrier Safety Regulations,

specifically 49 CFR §390.5

Page 43 of 45

 
 

—

10
1)
12
13
14
15
16
17
18
19
20
21

a2

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 44 of 45

86. Defendant BB&S ACQUISITION CORP is vicariously liable as

the statutory employer of the Defendant, WILEY LENUE HOOKS

and/or pursuant to the doctrine of lease liability.

87. Defendant, BB&S ACQUISITION CORP., had a duty to hire and

employ safe responsible drivers.

88. Defendant, BB&S ACQUISITION CORP., was responsible for

the parties it employed includmg WILEY LENUE HOOKS,
GREGORY LEASING COMPANY, INC., GREGORY
TRUCKING COMPANY, INC., B S$ G LEASING, INC., B&C
TIMBERS LLC., and MAC COMPANY, INC., and chose to carry
out the business of shipping in interstate commerce by using
WILEY LENUE HOOKS, GREGORY LEASING COMPANY,
INC., GREGORY TRUCKING COMPANY, INC., B&G
LEASING, INC., B&C TIMBERS LLC., and MAC COMPANY,

INC.,

89. Defendant, BB&S ACQUISITION CORP., was negligent and/or

grossly negligent in the employment of WILEY LENUE HOOKS,
GREGORY LEASING COMPANY, INC., GREGORY
TRUCKING COMPANY, INC., B S G LEASING, INC., B&C
TIMBERS LLC., and MAC COMPANY, INC., and chose to carry
out the business of shipping in interstate commerce by negligently

using and/or acted grossly negligent in using WILEY LENUE

Page 44 of 45

 
 

 

Case 3:17-cv-30174-MGM Document1 Filed 12/14/17 Page 45 of 45

Oo co “A wu

10

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27
28
29
30

Dated: 12/13/2017

THOMAS FORBES, as he is the
Personal Representative of the
Estate of GEORGE J. FORBES

By:_/s/ Dine M. Tangredi

Dino M. Tangredi

BBO No. 567928

The Miles Pratt House

106 Mount Auburn Street
Watertown, MA. 02472

T: 617-926-0012

F: 617.926.0016
masslaw@dinotangredi,com
Attorney for the Plaintiff

DMT/mlt
70103/comp-Federal-8

Page 45 of 45

 
